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 7                          UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 8

 9
      RAFAEL SALGADO, an Individual,                        Case No. 2:21-cv-6701-JFW (JCx)
10
                           Plaintiff,                       [Hon John F. Walter, Ct. Rm. 7A]
11
               vs.
12
      CITY OF HAWTHORNE, a Municipal Entity, ORDER
13    OFFICER JEFFREY TYSL, OFFICER
      GEORGE BUKHIN, OFFICER MICHAEL
14
      JENKS,
15                  Defendant.

16

17
             Having read and considered the Stipulation to Dismiss the Pending Action Without
18
      Prejudice Pursuant to F.R.C.P. Rule 41(a)(1)(A)(ii) and to Re-File in State Court, and Good
19
      Cause appearing, the Court’s Orders are as follows:
20

21           1. The pending Action, Defendants, and claims (both federal and state claims) are

22               dismissed without prejudice.
23
             2. Plaintiff shall be allowed to re-file his state claims against Defendants in state court.
24
             IT IS SO ORDERED.
25
      Date: November 3, 2021                  _______________________________
26
                                              HON. JOHN WALTER
27                                            United States District Court Judge

28                                                     1
